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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE


GREGORY BICKLEY                                                                          PLAINTIFF(S)

VS                                                                  CIVIL ACTION NO. 3:10CV-678-H

EQUIFAX INFORMATION SERVICE, LLC                                                       DEFENDANT(S)


                                               ORDER



       The above-styled action came before the undersigned for a telephonic status conference on June

11, 2013. Participating for on behalf of the Plaintiff, Mr. Zachary L. Taylor and Mr. David B. Mour, and

on behalf of the defendant-Equifax, Mr. John Michael Williams. Mr. Shea W. Conley also participated in

the conference on behalf of termed defendant-Dish Network.

       Discussions as to the status of the case were conducted. The Court being sufficiently advised;

       Counsel having notified the Court of a settlement in this case during this conference;

       IT IS HEREBY ORDERED that this case is DISMISSED from the Court's docket with leave

to reinstate within forty-five (45) days if the settlement is not consummated. Counsel may tender a

supplemental order of dismissal if they so desire.

Date: June 13, 2013




                                                           June 13, 2013

Copies to:
All Counsel of Record




Court Time: 00/05
